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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
                  Criminal No. 11-305(6)(DSD/LIB)

United States of America,

                 Plaintiff,

v.                                                               ORDER

Lawrence Lalonde Colton,

                 Defendant.


     Allen A. Slaughter, Jr., Assistant U.S. Attorney, 316
     North Robert Street, Suite 404, St. Paul, MN 55101,
     counsel for Plaintiff.

     Lawrence Lalonde Colton, #16069-041, FCI Milan, P.O.
     Box 1000, Milan, MI 48160, pro se.



     This matter is before the court upon the application to

proceed on appeal without prepayment of fees by defendant

Lawrence Lalonde Colton.          A litigant who seeks to be excused

from paying the filing fee for an appeal may apply for IFP

status under 28 U.S.C. § 1915.                 See also Fed. R. App. P.

24(a).     Because Colton was represented by appointed counsel

during his original criminal conviction, he is automatically

entitled    to    IFP   status      on   appeal,       unless       the    court

affirmatively certifies otherwise.              Fed. R. App. P. 24(a)(3);

Flores-Flores v. United States, No. 05-140, 2005 WL 2000174,

at *1 (D. Minn. Aug. 19, 2005).            Although the court remains
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fully satisfied that Colton’s § 2255 petition was properly

dismissed, his appeal is not frivolous and is therefore taken

in good faith.    See Coppedge v. United States, 369 U.S. 438,

444-45 (1962).     As a result, Colton does not need further

authorization from this court to proceed IFP on appeal.                     To

eliminate any possible doubt about the matter, however, the

IFP application will be granted.         See Flores-Flores, 2005 WL

2000174, at *1.

    Accordingly, based on the above, IT IS HEREBY ORDERED

that Colton’s application to appeal in forma pauperis [ECF No.

1244] is granted.



Dated:   August 11, 2014

                                 s/David S.Doty
                                 David S. Doty, Judge
                                 United States District Court




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